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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 YOLANDA DOSIER,                                      CIVIL ACTION NO.
                                                      1:20-cv-04477-WMR
      Plaintiff,

                     v.

 CITY OF ATLANTA, GEORGIA,

      Defendant.


                                       ORDER

      Before the Court is a discovery dispute between the parties over Plaintiff’s

access to certain of Defendant’s employees’ cellphone records.

      By noon on Monday, November 22, 2021, Plaintiff is ORDERED to file with

the Court a list of the individuals for whom Plaintiff wishes to obtain cellphone

records and explanations for how each set of records is relevant to the allegations of

the complaint.

      By noon on Tuesday, November 23, 2021, Defendant is ORDERED to file

with the Court its responses to Plaintiff’s filing.

      The Court will issue an order resolving the parties’ dispute on Wednesday,

November 24, 2021.

      IT IS SO ORDERED, this 19th
      day of November, 2021.
